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“iZ \e UNITED STATES DISTRICT COURT CAMDEN OFFICE
- wW MARTIN LUTHER KING, JR. USPO & Courthouse
William T. Walsh _ FEDERAL BLD & U.S. COURTHOUSE 401 Market Street
Clerk 50 WALNUT STREET Camden, N.J. 08101
P.O. BOX 419
NEWARK, N.J. 07107-0419 TRENTON OFFICE
973-645-4619 402 East State
Street
P.O. Box 515

Trenton, N.J. 08603

REPLY TO: Newark
Date:_7/19/10

CLERK

SUPERIOR COURT OF HUDSON COUNTY
595 NEWARK AVENUE
JERSEY CITY, NJ 07306

Re: MOSS vs. TORRES, et al

Your No. HUD-L-2477-10
USDC NO. 10-cv-3018 (WJM)

Dear Sir/Madam:

Pursuant to Order of Remand entered in above matter, enclosed
please find one Certified copy of Order of Remand and one
Certified copy of docket sheets.

Kindly acknowledge receipt on copy of this letter.

Case 2:10-cv-03018-WJM-MF Document 11 Filed 08/05/10 Page 2 of 3 PagelD: 77
Very truly yours,

. William T. Walsh, Clerk

by:
s/Donna DeAngelis
Deputy Clerk

Enclosure
cc: All counsel/parties

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RECEIPT IS ACKNOWLEDGED THIs 47 pay or DU{[/ , 199 A200).

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